

ORDER

PER CURIAM:
AND NOW, this 13th day of June, 1997, upon consideration of the Report and Recommendations of the Disciplinary Board dated March 17, 1997, the Petition for Review and response thereto, it is hereby
ORDERED that Joseph DeMesquita be and he is suspended from the Bar of this Commonwealth for a period of three years, retroactive to October 2, 1995, and he shall comply with all the provisions of Rule 217, Pa.R.D.E. It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
CASTILLE, J. dissents and would disbar respondent.
NIGRO, J., dissents and would suspend respondent for a period of five years.
